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                                                                                                  E-FILED
                                                                       Friday, 30 April, 2010 09:20:42 AM
                                                                            Clerk, U.S. District Court, ILCD

                      UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF ILLINOIS
                              URBANA DIVISION
____________________________________________________________________________

UNITED STATES OF AMERICA,                             )
                                                      )
                       Plaintiff,                     )
       v.                                             )       Case No. 07-CR-20025
                                                      )
JABARI A. VEALS,                                      )
                                                      )
                       Defendant.                     )

                                            OPINION

       This case is before the court for ruling on Defendant’s pro se Motion for Release of

Discovery, Documents and Case Files (#68) and pro se Motion to Review and Reweight Cocaine

Base (Crack) (#69). Both Motions are DENIED.

                                         BACKGROUND

       On February 8, 2007, Defendant, Jabari A. Veals, was charged by indictment (#7) with the

offense of possession of 50 or more grams of cocaine base (“crack”) with the intent to distribute it,

in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(A). On March 26, 2007, the Government filed a

Notice of Prior Conviction (#11). The Government listed nine prior convictions of Defendant and

stated that the convictions qualified Defendant for enhanced sentencing pursuant to 21 U.S.C. §

841(b)(1).

       A jury trial commenced on October 1, 2007, and concluded on October 3, 2007. The jury

found Defendant guilty of the charge against him. A sentencing hearing was held on May 15, 2008.

Defendant was sentenced to the Federal Bureau of Prisons for a term of life imprisonment.

Defendant filed a Notice of Appeal (#48). On January 15, 2010, the Seventh Circuit Court of

Appeals entered an unpublished Order which affirmed Defendant’s conviction and sentence. On

February 24, 2010, this court received the Mandate (#63) from the Seventh Circuit.

                                            ANALYSIS
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        On April 26, 2010, Defendant filed a pro se Motion for Release of Discovery, Documents

and Case Files (#68). In his Motion, Defendant indicated that he intends to file a Motion under 28

U.S.C. § 2255 and stated that it is imperative that he “gain access to the files, reports, records,

discovery material and test results” currently being retained by his former counsel, John Taylor.

        This court initially notes that the case law cited by Defendant does not support his request.

The case law he cited provides that a prisoner who has filed a Motion under § 2255 is entitled to

access to pre-existing court records, including trial transcripts. See Rush v. United States, 559 F.2d

455, 459 (7th Cir. 1977). That is not what Defendant is seeking in this case. This court notes that,

in his pro se Motion to Review and Reweight Cocaine Base (Crack) (#69), Defendant refers to a

page and lines from his trial transcript. This court therefore concludes that Defendant has already

been provided with the transcripts which have been prepared in this case.

        In his pro se Motion, Defendant stated that he cannot meet his burden under § 2255 without

access to the records in the possession of his former attorney, including discovery. It is the policy

of this court, however, that discovery materials should not be available to prisoners for unfettered

and uncontrolled use in the prison system. See United States v. Curtner, 2008 WL 905923, at *1

(C.D. Ill. 2008). This court further concludes that Defendant has not offered sufficient reasons to

justify the disclosure of the requested documents. Defendant is not entitled to conduct a fishing

expedition. Curtner, 2008 WL 905923, at *1. “Bald allegations that he needs the documents now

will not do.” Curtner, 2008 WL 905923, at *1, quoting United States v. Tolliver, 2007 WL 611236,

at *2 (S.D. Ill. 2007). Because Defendant has not shown that he is entitled to the information

sought, his pro se Motion for Release of Discovery, Documents and Case Files (#68) must be

denied. See United States v. Villalobos, 316 Fed. Appx. 516 (7th Cir. 2009) (affirming this court’s

order denying the defendant’s motion for reconsideration of the denial of his request for his

attorney’s case file).

        This court notes that, once Defendant has filed his § 2255 Motion, he may petition the court

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for discovery under Rule 6 of the Rules Governing Section 2255 Proceedings. See Curtner, 2008

WL 905923, at *1; Tolliver, 2007 WL 611236, at *1. Such discovery may be allowed in the

discretion of the district court where a petitioner in a § 2255 proceeding has demonstrated good

cause for such discovery. See Curtner, 2008 WL 906923, at *1; United States v. Davuluri, 2002 WL

1033097, at *1 (N.D. Ill. 2002).

       On April 26, 2010, Defendant also filed a pro se Motion to Review and Reweight Cocaine

Base (Crack) (#69). Defendant argues that he should be resentenced because the crack cocaine was

weighed with the packaging, which affected his sentence. Once a sentence is imposed, this court

has no authority to modify the term of imprisonment except in very limited circumstances. United

States v. Anderson, 583 F.3d 504, 508 (7th Cir. 2009). The limited circumstances which would allow

this court to modify a sentence it imposed are not present here. Accordingly, Defendant’s Motion

to Review and Reweight Cocaine Base (Crack) (#69) must be denied.

       IT IS THEREFORE ORDERED THAT:

       (1) Defendant’s pro se Motion for Release of Discovery, Documents and Case Files (#68)

is DENIED.

       (2) Defendant’s Motion to Review and Reweight Cocaine Base (Crack) (#69) is DENIED.

                             ENTERED this 30th day of April, 2010

                                     s/ Michael P. McCuskey
                                    MICHAEL P. McCUSKEY
                                   CHIEF U.S. DISTRICT JUDGE




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